Case 6:14-cv-00960-JRG-JDL Document 13 Filed 03/30/15 Page 1 of 1 PageID #: 52



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

LOGITRAQ, LLC                                §
                                             §
v.                                           §       CASE NO. 6:14cv960-JRG-JDL
                                             §
EVANS DELIVERY COMPANY, INC.                 §

                                     FINAL JUDGMENT

         Pursuant to the Agreed Motion to Dismiss, the Court hereby enters Final Judgment.
     .
Plaintiff Logitraq, LLC, filed suit against Evans Delivery Company, Inc. on December 18, 2014.

Since that time, all Defendants have been dismissed in this case.

         IT IS HEREBY ORDERED that the above-entitled and numbered cause of action is

DISMISSED WITH PREJUDICE. All costs are to be borne by the party that incurred them.

         All motions by either party not previously ruled on are hereby DENIED.

         The Clerk of the Court is directed to close this case.
          SIGNED this 19th day of December, 2011.
         So ORDERED and SIGNED this 29th day of March, 2015.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
